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                      11   HORSE RACING LABS, LLC
                      12
                                                UNITED STATES DISTRICT COURT
                      13
                                              CENTRAL DISTRICT OF CALIFORNIA
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                           LOS ANGELES TURF CLUB,              No. 2:15-cv-09332-SJO (JEMx)
                      16   INCORPORATED, a California
                           Corporation, et al.,                Honorable S. James Otero
                      17
                      18              Plaintiffs,              DEFENDANT’S REPLY IN SUPPORT
                                                               OF MOTION FOR JUDGMENT ON
                      19        vs.                            THE PLEADINGS PURSUANT TO
                                                               FED. R. CIV. P. 12(c)
                      20   HORSE RACING LABS, LLC, a
                           Delaware Limited Liability          Hearing Date:     August 1, 2016
                      21   Company (a/k/a IMMERSE, LLC),       Hearing Time:     10:00 a.m.
                           d/b/a DERBYWARS, and DOES 1
                      22   through 10, inclusive,              Complaint Served:     December 3, 2015
                      23                                       Am. Complaint Served: May 16, 2016
                                      Defendants.
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M ANATT , P HELPS &
  P HILLIPS , LLP                                                          REPLY ISO DEFENDANT’S MOTION FOR
  ATTO RNEY S AT LAW                                                             JUDGMENT ON THE PLEADINGS
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                       1   I.    INTRODUCTION
                       2         Plaintiffs do not dispute that the IHA does not provide a private right of
                       3   action to recover proceeds of purportedly unlawful gambling. In their First
                       4   Amended Complaint, Plaintiffs repeatedly accuse Derby Wars of illegal conduct.1
                       5   Plaintiffs now do an about-face, brazenly arguing in their Opposition that they are
                       6   not accusing Derby Wars of criminal activity. (Dkt. No. 38 (“Opp.”) at 1:23-2:19.)
                       7   And even in so arguing, Plaintiffs state that Derby Wars is indeed violating
                       8   California Penal Code § 337a because Derby Wars is not licensed in California to
                       9   take wagers. (Opp. 6:25-7:19.) Further, realizing that their allegations of criminal
                      10   conduct preclude their IHA claim, Plaintiffs seek leave to file yet another (futile)
                      11   amended complaint, sheepishly claiming that their incendiary allegations are
                      12   merely unnecessary surplusage. (Opp. 1:28-2:2.) Because Plaintiffs clearly allege
                      13   that Derby Wars’s contests are illegal wagers, they cannot recover under the IHA.
                      14   The Court should dismiss Plaintiffs’ IHA claim on this basis alone.
                      15         Plaintiffs’ UCL claim fares no better. Plaintiffs do not dispute that if the
                      16   IHA claim fails, then the Court should decline to exercise jurisdiction over
                      17   Plaintiff’s state law UCL claim. Further, Plaintiffs still have not alleged any loss of
                      18   money or property that would provide them standing to assert a UCL claim. While
                      19   Plaintiffs now assert an entitlement to fees under California’s Horse Racing Law,
                      20   that statute is inapplicable here because it only regulates parimutuel wagering.
                      21   Finally, courts have expressly rejected Plaintiffs’ attempts to seek nonrestitutionary
                      22   disgorgement. This Court should dismiss Plaintiffs’ UCL claim.
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                            As discussed in Section II.A., infra, Derby Wars maintains that its contests do not
                      28   constitute wagering at all under federal and state law.
M ANATT , P HELPS &
  P HILLIPS , LLP                                                                REPLY ISO DEFENDANT’S MOTION FOR
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                       1   II.   ARGUMENT
                       2         A.     Plaintiffs Do Not Deny That the IHA Precludes Recovery of
                       3                Proceeds of Criminal Activity

                       4         Plaintiffs do not (and cannot) deny that the IHA precludes recovery of
                       5   proceeds from illegal gambling. Because Plaintiffs clearly allege that Derby
                       6   Wars’s contests violate criminal statutes, Plaintiffs cannot recover under the IHA.
                       7   Plaintiffs’ arguments to the contrary are unavailing.
                       8         First, Plaintiffs bizarrely argue that they are not alleging that Derby Wars is
                       9   violating criminal statutes, only civil statutes. (Opp. 1:23-2:19.) Wrong. Plaintiffs
                      10   allege that Derby Wars is violating 18 U.S.C. § 1955. (Am. Compl. ¶¶ 48, 64.)
                      11   Plaintiffs further allege that Derby Wars is violating California Penal Code § 337a
                      12   because Derby Wars does not have a license to conduct any wagering on horse
                      13   racing in California (leaving aside whether Derby Wars has the consent of
                      14   particular horse race tracks to take wagers on particular races). (See Am. Compl. ¶¶
                      15   27, 28; Opp. 6:25-7:19.) Moreover, in their original Complaint, Plaintiffs asserted
                      16   – based on the same factual allegations – that Derby Wars was a RICO enterprise
                      17   (though Plaintiffs dropped their private RICO claim after the Court ruled that
                      18   Plaintiffs lack standing to assert such a claim).
                      19         Second, Plaintiffs argue that if they are not permitted to recover, the IHA
                      20   “would become meaningless.” (Opp. 11:9-10.) Wrong again. The IHA allows
                      21   horse racing associations to recover where a “licensed parimutuel wagering
                      22   operation” of one state takes wagers on races in other states without the consent of
                      23   the race tracks hosting those races. See H.R. Rep. No. 94-1366, at 5 (July 26,
                      24   1976); see also S. Rep. No. 95-554, at 1 (Oct. 27 (legislative day, Oct. 21), 1977)
                      25   (noting that recovery is limited to “wager[s] accepted by a licensed parimutuel
                      26   wagering operation”). The statute is inapplicable where a purported wager is taken
                      27   by an unlicensed wagering operation. Because Plaintiffs concede that Derby Wars
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  P HILLIPS , LLP                                                                  REPLY ISO DEFENDANT’S MOTION FOR
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                       1   does not have a license to take wagers (see Am. Compl. ¶¶ 27, 33, 36), if Derby
                       2   Wars’s contests are considered wagers, then Plaintiffs cannot recover under the
                       3   IHA.
                       4          Third, Plaintiffs argue that to dismiss the IHA claim, the Court would need to
                       5   find that Derby Wars is taking illegal bets. (Opp. 4:16-5:1.) Yet again, wrong.
                       6   Though the record before the Court is insufficient to rule on this issue, Derby
                       7   Wars’s contests do not constitute wagering at all under federal and state law,
                       8   including under the fantasy sports exception to the Unlawful Internet Gambling
                       9   Enforcement Act of 2006. See 31 U.S.C. § 5326(ix).
                      10          But the Court need not decide whether Derby Wars’s contests are illegal
                      11   wagers. Plaintiffs allege that Derby Wars’s contests are wagers and violate federal
                      12   and state criminal laws because Derby Wars is not licensed to take any wagers;
                      13   thus, based on Plaintiffs’ allegations, the IHA does not apply. Moreover, if the
                      14   contests are not wagers, the IHA still does not apply because the IHA only applies
                      15   to wagers. Either way, Plaintiffs cannot recover.
                      16          Fourth, the Court should deny Plaintiffs’ request for leave to amend because
                      17   amendment would be futile.2 See Johnson v. Buckley, 356 F.3d 1067, 1077 (9th
                      18   Cir. 2004). Even if Plaintiffs remove the references to criminal laws in their
                      19   pleading, they must still allege purported criminal conduct because (i) to recover
                      20   under the IHA, Plaintiffs must allege that Derby Wars’s contests are wagers, and
                      21   (ii) Derby Wars is not licensed in any state to take wagers. (Am. Compl. ¶¶ 2, 33,
                      22   36.) Thus, Plaintiffs cannot recover under the IHA.
                      23          Further, courts should only grant leave to amend where “the deficiencies [in
                      24   the complaint] can be cured with additional allegations that are ‘consistent with the
                      25   challenged pleading’ and that do not contradict the allegations in the original
                      26   complaint.” United States ex rel. Lee v. Corinthian Colls., 655 F.3d 984, 995 (9th
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                            Plaintiffs have not moved to amend under FRCP 15, nor have they met and
                      28   conferred with Derby Wars under Local Rule 7-3.
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  P HILLIPS , LLP                                                                REPLY ISO DEFENDANT’S MOTION FOR
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                       1   Cir. 2011) (quoting Reddy v. Litton Indus., Inc., 912 F.2d 291, 296-97 (9th Cir.
                       2   1990)) (emphasis added). Here, Plaintiffs have alleged that Derby Wars is not
                       3   licensed to take wagers and is thus allowing illegal wagering on its website. (Am.
                       4   Compl. ¶¶ 27, 28, 48, 64; Opp. 6:25-7:19.) These allegations preclude recovery
                       5   under the IHA. Plaintiffs may not cure this deficiency by making contradictory
                       6   allegations in a new pleading.
                       7   B.    Plaintiffs’ UCL Claim Fails
                       8         Plaintiffs’ UCL claim also should be dismissed for three distinct reasons.
                       9         First, if the Court dismisses Plaintiffs’ IHA claim, it should decline to
                      10   exercise supplemental jurisdiction over Plaintiffs’ UCL claim. (Mot. 9:16-11:2.)
                      11   Plaintiffs do not dispute this; thus, Plaintiffs’ UCL claim should be dismissed.
                      12         Second, Plaintiffs have not adequately alleged that they suffered an economic
                      13   injury, and thus do not have standing to sue under the UCL. (Mot. 11:3-14:18.) As
                      14   noted already, Plaintiffs are not entitled to fees under the IHA because that statute
                      15   only allows recovery for wagers accepted by licensed entities.
                      16         In addition, Plaintiffs now argue that they are entitled to fees under the
                      17   California Horse Racing Law (“HRL”). (Opp. 14:20-15:1.) But the HRL regulates
                      18   only “parimutuel wagering on horse races.” Cal. Bus. & Prof. Code § 19401
                      19   (emphasis added). Parimutuel wagering is defined as wagering where “the
                      20   association distributes the total wagers comprising each pool, less the amounts
                      21   retained for purposes specified in this chapter, to winning bettors based on the
                      22   official race results.” Id. § 19411. In other words, in parimutuel wagering the pool
                      23   varies depending on the number of players. Plaintiffs allege that Derby Wars’s
                      24   contests are not parimutuel wagering: they have a fixed prize pool, a maximum
                      25   number of entries, and grant fixed cash prizes. (Am. Compl. ¶¶ 43, 44.) Thus, the
                      26   HRL does not apply, and Plaintiffs are not entitled to fees under that statute.
                      27         Plaintiffs also may not rely on any purported diversion of customers to show
                      28   injury. Plaintiffs now state that they “do not allege that their damages stem from
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  P HILLIPS , LLP                                                                REPLY ISO DEFENDANT’S MOTION FOR
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                       1   Derby Wars’ diversion of customers” (Opp. 14:18-19), and admit that such
                       2   allegations are “superfluous” in the Amended Complaint. (Id. 15:28-16:2.) In any
                       3   event, their allegations are insufficient for the reasons stated in Derby Wars’s
                       4   opening papers.
                       5         Third, Plaintiffs are not entitled to restitution or disgorgement of profits.
                       6   Plaintiffs again cite Shersher v. Superior Court, 154 Cal. App. 4th 1491 (2007), for
                       7   the proposition that they should be entitled to disgorgement. But in that case, the
                       8   plaintiff sought return of its own money. See id. at 1494. Here, Plaintiffs do not,
                       9   and cannot, seek a return of their own money because Derby Wars did not obtain
                      10   any money from Plaintiffs. Colgan v. Leatherman Tool Grp., Inc., 135 Cal. App.
                      11   4th 663 (2006), is similarly inapposite because none of Derby Wars’s profits can be
                      12   traced back to Plaintiffs. Finally, Plaintiffs cite to Meister v. Mensinger, 230 Cal.
                      13   App. 4th 381 (2014), for the proposition that disgorgement operates to remedy
                      14   unjust enrichment. But Meister specifically referred to this type of disgorgement as
                      15   “nonrestitutionary disgorgement.” Id. at 398. And it is well-established that
                      16   plaintiffs many not seek nonrestitutionary disgorgement through the UCL. Korea
                      17   Supply Co. v. Lockheed Martin Corp., 29 Cal. 4th 1134, 1144 (2003).
                      18         For each of these reasons, Plaintiffs’ UCL claim fails and the Court should
                      19   enter judgment in favor of Derby Wars.
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                           Dated: July 18, 2016                      Respectfully submitted,
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                                                                     MANATT, PHELPS & PHILLIPS, LLP
                      22                                             Matthew P. Kanny
                                                                     Arunabha Bhoumik
                      23                                             Maura K. Gierl
                      24                                             By: /s/ Matthew P. Kanny
                                                                        Matthew P. Kanny
                      25                                                Attorneys for Defendant
                                                                        HORSE RACING LABS, LLC
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  P HILLIPS , LLP                                                                 REPLY ISO DEFENDANT’S MOTION FOR
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